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EXHIBIT X-17

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EXHIBIT X-18

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In the Matter of Elston L. Stephenson
Complaint Number: NPS-18-0460
Agency: United States Department of Interior
National Park Service

SUPPLEMENTAL STATEMENT. OF BRIAN DRAPEUX
RESPONSIBLE MANAGEMENT OFFICIAL —

My name is s Brian Drapeaux. “My job title i is Deputy Superintendent; grade.GS- 15,
National Park Service,-Grand Canyon Nationa] Park, Grand Canyon, AZ. I have been in
my position since June 2014. I have worked for the Agency since June 2014. My
telephone number during the day is 928-638-7903.

I HAVE BEEN ADVISED OF THE FOLLOWING:

I am required by Federal regulations and United States Department of Interior policy and
National Park Service policy to cooperate fully and promptly with the investigator who
has been assigned to conduct a thorough and impartial investigation into a complaint of
discrimination against the Untied States Department of Interior and National Park
Service. I must provide a statement for the investigative report, which is true, and
complete to the best of my knowledge and which discloses all of my firsthand knowledge
having a bearing on the merits of the complaint. My statement is provided under oath (or
affirmation), without a pledge of confidentiality, in accordance with Equal Employment
Opportunity Commission rules and regulation as well as those of the United States
Department of Interior and National Park Service. The Complainant and the appropriate
Departmental officials involved in the EEO complaint process will receive the entire
investigative file. I have the right to review my statement prior to signing it and may

_ make initialized corrections if it is incomplete or inaccurate. I have the right to receive a
copy of the signed statement.

Having. been advised of the above information about my role as a witness in the
investigative process, I solemnly swear the statement that follows is tue and complete to
the best of my knowledge and belief, and addresses the issues and concerns raised with

me by the investigator.

Ihave the right to review my statement prior to signing it, and may make initialed
corrections if it is incomplete or inaccurate. I have a right to receive a copy of the signed
statement.

Issue/s:

Whether the complainant was subjected to harassment and discriminated —
against on the basis of reprisal (this EEO complaint) when:

11. _ His Supervisor threatened him with suspension for arriving to work
‘early, and denied him extra/comp time hours.

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Director’s Order #50B outlines the NPS, Regional, Park Unit Managers, Safety
Managers, and Supervisors responsibilities related to creating and maintaining
safe activities and promoting a safety culture. GRCA’s safety plan would include
site specific issues not necessarily covered by the Director’s Order.

Do you have any knowledge of the Superintendent refusing to approve/sign the
GRDA park Safety Plan and Strategy?

.No. To my knowledge no safety’ plan was submitted for approval.

Is the Superintendent required to approve/sign a GRDA Park Safety Plan and
Safety Strategy?

Upon final drafting and review documents will be sent to the Superintendent for
signature.

- Has the Superintendent in the past approved/signed off on GRDA Park Safety

Plan and Safety Strategies? If so, when did he/she sign off on such GRDA Park
Safety Strategies?

I am unaware of past activities related to the Superintendent and Safety Managers
activities.

What is the significance of the Superintendent refusing to sign approve/sign off
on the GRDA Park Safety Plan and Safety Strategy?

When a completed and vetted document is produced, the Superintendent would
sign.
The NPS has a policy, Director’s Order #50B that provides guidance to parks on

‘how to implement occupational safety and health management policies and

procedures. It is available on line.

14. In July 2019,the Superintendent denied his request to be removed
from the direct report of his supervisor.

Has Complainant requested to be removed from being a direct report of yours? If
sO, What is the stated reason he has provided?

It is my understanding that Elston has met with Woody Smeck, Acting
Superintendent, and made that request and I am unaware of the reasoning. Elston
sent an email on February 8, 2019 advising me to “Please save your time and
energy on supervising me.” I responded that I had not been informed by anyone
that his supervisor had changed and that I would remain his supervisor.

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In the Matter of Elston L. Stephenson
Complaint Number: NPS-18-0460
Agency: United States Department of Interior
National Park Service

STATEMENT OF WOODY SMECK
RESPONSIBLE MANAGEMENT OFFICIAL

My name is Woody Smeck. My job title is Superintendent; grade GS-0025-15, National
Park Service, Sequoia and Kings Canyon National Parks, Three Rivers, CA. I have been
in my position since April 2013. [have worked for the Agency since July 1991. My
telephone number during the day is 559-565-3101.

I HAVE BEEN ADVISED OF THE FOLLOWING:

I am required by Federal regulations and United States Department of Interior policy and
National Park Service policy to cooperate fully and promptly with the investigator who has
been assigned to conduct a thorough and impartial investigation into a complaint of
discrimination against the Untied States Department of Interior and National Park Service.
I must provide a statement for the investigative report, which is true, and complete to the
best of my knowledge and which discloses all of my firsthand knowledge having a bearing
on the merits of the complaint. My statement is provided under oath (or affirmation),
without a pledge of confidentiality, in accordance with Equal Employment Opportunity
Commission rules and regulation as well as those of the United States Department of
Interior and National Park Service. The Complainant and the appropriate Departmental
officials involved in the EEO complaint process will receive the entire investigative file. I
have the right to review my statement prior to signing it and may make initialized
corrections if it is incomplete or inaccurate. I have the right to receive a copy of the signed
statement.

Having been advised of the above information about my role as a witness in the
investigative process, I solemnly swear the statement that follows is true and complete to
the best of my knowledge and belief, and addresses the issues and concerns raised with me
by the investigator.

I have the right to review my statement prior to signing it, and may make initialed

corrections if it is incomplete or inaccurate. I have a right to receive a copy of the signed
Statement.

Background
Q. What is your race?
A. White

Q. What is your job title?

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No.

As Acting Superintendent were you required to approve/sign a GRDA Park
Safety Plan and Safety Strategy?

. » The unit superintendent is the approving official for the safety plan.

Have you as Acting Superintendent approved/signed off on GRDA Park Safety
Plan and Safety Strategies? If so, when ?

No. Mr. Stephenson had prepared a draft plan prior to my arrival. The plan was —

. reviewed by the deputy superintendents. They provided to me a copy of their
- handwritten comments and notations for revisions in June 2019. I reviewed the

comments and notations and provided the original to Mr. Stephenson on July 29,
2019, along with written instructions to complete revisions by December 31,
2019.

14. = In July 2019,the Superintendent denied his request to be removed
from the direct report of his supervisor.

Has Complainant requested to be removed from being a direct report of Mr.
Drapeaux? If so, what i is the stated reason he has provided?

Yes. The reason provided was that he had filed a formal EEO complaint against
Mr. Drapeaux and, as a result, should be supervised by the Superintendent.

Was Complainant’s request denied by you?

Yes, I responded via email on June 27, 2019 and through direct conversation that
as Acting Superintendent, I did not have capacity to provide direct supervision of
the safety officer and safety program. I also stated that the permanent
superintendent may choose to review the current reporting structure and make
changes based on what they felt would promote the efficiency of the government.

15. He was denied performance counseling, EPAP development, and IDP
development and maintenance.

What is meant by “performance counseling”? .

Counseling about performance is a supervisory function to provide performance
support to a subordinate employee. Performance support may include addressing
performance concerns, clarify performance expectations, or providing
performance support aids or training.

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In the Matter of Elston L. Stephenson
Complaint Number: NPS-18-0460
Agency: United States Department of Interior
National Park Service

STATEMENT OF SARAH CREACHBAUM
RESPONSIBLE MANAGEMENT OFFICIAL

My name is Sarah’Creachbaum. My job title is Superintendent, grade GS- 15, National
Park Service, Olympic National Park; Port Angeles, WA. I have been in my position |
since Novernber of 2012. I have worked for the Agency since 1998. From March 28" to
May 30" I served as acting superintendent, Grand Canyon National Park, Grand Canyon,
AZ. My telephone number during the day is (360) 565-3002.

I HAVE BEEN ADVISED OF THE FOLLOWING:

I am required by Federal regulations and United States Department of Interior policy and
National Park Service policy to cooperate fully and promptly with the investigator who
has been assigned to conduct a thorough and impartial investigation into a complaint of
discrimination against the Untied States Department of Interior and National Park
Service. I must provide a statement for the investigative report, which is true, and
complete to the best of my knowledge and which discloses all of my firsthand knowledge
having a bearing on the merits of the complaint. My statement is provided under oath (or
affirmation), without a pledge of confidentiality, in accordance with Equal Employment
Opportunity Commission rules and regulation as well as those of the United States
Department of Interior and National Park Service. The Complainant and the appropriate
Departmental officials involved in the EEO complaint process will receive the entire
investigative file. I have the right to review my statement prior to signing it and may
make initialized corrections if it is incomplete or inaccurate. I have the Tight to receive a
copy of the signed statement.

Having been advised of the above information about my role as a witness in the
investigative process, I solemnly swear the statement that follows is truc and complete to
the best of my knowledge and belief, and addresses the issues and concerns raised with
me by the investigator.

I have the right to review my statement prior to signing it, and may make initialed

corrections if it is incomplete or inaccurate. I have a right to receive a copy of the signed
statement.

Background
Q. What is your race?

A. White

1 Initials MSC 10/21/19

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To your knowledge did Complainant routinely arrive at his duty station early?

I have no knowledge about when Mr. Stephenson routinely arrived at his duty
station.

Does Complainant begin his shift at the time of his arrival at his duty station? If
not, is he permitted to do so if he wishes to?

I have no knowledge about when Mr. Stephenson begins his shift. I do not know
if he is permitted to begin his shift when he wishes to.

Do you have knowledge of Mr. Drapeaux threatening Complainant for beginning
his duty shift early? Explain

I do not have any knowledge of Mr. Drapeaux threatening Mr, Stephenson for
beginning his duty shift early.

12. His supervisor excluded him from a GRCA helicopter drill:
What is a GRCA helicopter drill?

I am not sure what a GRCA helicopter drill is. I assume it is a training of some
kind.

Has Complainant in the past participated in GRCA helicopter drills?
I do not know if Mr. Stephenson has participated in GRCA helicopter drills.

Did Complainant request authorization to participate in the GRCA helicopter
drill? Ifso, was his request granted or denied?

I do not know if Mr. Stephenson requested authorization to participate in the
GRCA helicopter drill.

Was Complainant provided with an explanation for the denial?

I do not know if he was provided with an explanation.

13. The Superintendent refused to approve/sign the GRCA Park Safety
Plan and Safety Strategy, which is required by OSHA law and
DOUNPS/SOB.

What is the GRCA Park Safety Plan and Safety Strategy?

J am unclear which plan or version of the plan is being referred to - there is n0
date cited. When I worked with Mr. Stephenson, we were working with draft v2

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_ of the Grand Canyon National Park Health and Wellness Plan and Safety

Strategy. In that plan the document was described as:

The primary purpose of the Safety, Health, and Wellness Management Plan
(SHW Plan) is to document actions needed to manage a comprehensive
Safety, Health and Wellness Program (SHW Program) with goals of

_ preventing workplace injuries and illnesses; preventing the suffering | these
events can cause for staff, their families, ‘and employers; and improving the
overall well-being of employees. The Grand Canyon National Park (( GRCA)
SHW Plan establishes a proactive approach to managing workplace safety,
héalth, and wellnéss. This Plan must be understood not as asum of isolated
actions but as an organizational system that identifies, assesses, and remedies
risks arising from the day-to-day work activities at GRCA.

Did you refuse to approve/sign the GRCA Park Safety Plan and Strategy?

I did not refuse to sign or approve the Safety Plan and Strategy. It is true that I did
not sign the ‘document. I did not sign the document because it wasn’t finished. I
received draft v2 in late March via email from Mr. Stephenson. Ireviewed the
document and based on my review I suggested that Mr. Stephenson do some
editing a and make a few additions. 1 also suggested that he address some
comments that the former superintendent Chris Lehnertz had made during her
time at Grand Canyon. The safety plan is based on a standard template and the
additions we discussed were not lengthy.

As Superintendent were you required to approve/sign a GRDA Park
Safety Plan and Safety Strategy?

A superintendent is required to havea safety plan and strategy in place. The plan
at Grand Canyon was underway and not too far from completion (my judgement).
To my knowledge a superintendent is not required to approve or sign a plan that is
not complete. —

Have you as Superintendent approved/signed off on GRCA Park Satety
Plan and Safety Strategies? If so, when ?

No.

14. In July 2019, the Superintendent denied his request to be removed
from the direct report of his supervisor.

Has Complainant requested to be removed from being a direct report of Mr.
Drapeaux? If so, what is the stated reason he has provided?

During my tenure at Grand Canyon which was before July, Mr. Stephenson
requested that he be removed from the sopervision of Mr. Drapeaux on May 20"

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2019. He stated in an email to me that it was to avoid retaliation and obstruction by
his supervisor Mr. Drapeaux.

Was Complainant’s request denied by you?

No, but to be clear I did defer the decision so that the incoming (and returning)
superintendent Woody Smeck could be involved in the decision making, I was
ending my detail assignment and returning to Olympic National Park within a
week. The issues surrounding Mr. Stephenson’s claims about Mr. Drapeaux, and
the ongoing investigations against Mr. Drapeaux and Mr. Stephenson were very
complicated and it was important to proceed carefully and fairly. I spoke with ER
specialist Sean Quinn and with incoming acting superintendent Woody Smeck
about Mr. Stephenson’s most recent claim. They concurred with my thinking.

15. He was denied performance counseling, EPAP development, and [DP
development and maintenance.

What is meant by “performance counseling”?

To my knowledge performance counseling is performed by an employee's
supervisor. The supervisor works closely with the employee provides feedback
and coaching and recommends training with the objective of improving the
employee’s job performance.

Did Complainant make a request for performance counseling? If so, was his
requested denied? How so?

Mr, Stephenson did not request performance counseling from me. I believe he had
requested such counseling from Mr. Drapeaux. I also believe (but cannot find the
email to verify) that it was part of an earlier settlement agreement between the
two parties.

What is meant by EPAP development?
An Employee Performance Annual Plan or EPAP is developed by a supervisor

and an employee collaboratively. It describes critical work elements to be
completed by the employee and the standards that work will be evaluated against.

Did Complainant make a request for EPAP development? If so, was his request
denied? How so?

Not of me (that I recall). | understood it to be a part of an earlier complaint made
by Mr. Stephenson. I asked Mr. Stephenson if Mr. Drapeaux completed the EPAP
process with him. Mr. Stephenson replied that he had.

What is meant by IDP development and maintenance?

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Creachbaum, Sarah <sarah_creachbaum@nps.gov>

CL comments on - Fwd: Pleas Review/input: Draft - GRCA Safety Plan

1 message

Christine Lehnertz <chris_lehnertz@nps.gov> Mon, Apr 1, 2019 at 8:22 AM
To: Sarah Creachbaum <Sarah_Creachbaum@nps.gov>
Ce: Nicole Koehlinger <nicole_koehlinger@nps.gov=

Hi Sarah,

A couple of comments that I promised on the draft safety plan for the park.

The new parkwide strategic plan for 2020-2025 includes two action items for safety, health, and wellness. Perform an
updated self assessment with the national safety web tool, and prioritize safety actions based on the results in order to
bite off doable chunks in a parkwide safety plan. The connection between these two plans needs to be intentional.

Comments:

(1) The draft safety pian that Elston has shared is modified slightly from the national template. However, it lists 45 different
safety programs without differentiating priorities like high-medium-low, to make their development realistic at GRCA. If all
are listed as “due now" and deficient if not immediately done, it creates a tremendous “gotcha” scenario. If the GRCA
safaty program could get onto a priority setting path it would really help the park,

(2) We are trying to build a park Safety, Health and Weliness Office at GRCA, not just a single Safety and Health Officer
position. As long as we lean toward the "safety hero” model it will be difficult to build a system for safety that can be
integrated and owned by all employees. My suggestion would be to use the plan to delineate the roles and responsibilities

of the SH&W Office (which has two positions for now, with the GS-11 still vacant) rather than solely the S&H Officer. Also,
there may be a misunderstanding that collateral duty applies to GRCA. As you know, that is the model for small parks

that don’t have full time safety professionals.
Thanks so much.

Chris

Chris Lehnertz

445-652-8811

Grand Canyon National Park’s priority is to create a respectful and inclusive workplace
where employees can be safe, feel secure, and find support.

Begin forwarded message:

From: “Stephenson, Elston" <elston_stephanson@nps.gov=

Date: March 26, 2019 at 6:04:20 AM MST

To: NPS GRCA Executive Team <arca_execulive_leam@inps.aov>
Subject: Pleas Review/Input: Draft - GRCA Safety Plan

Good Morning Everyone,

Please receive and review this GRCA Safety Plan draft.

This is straight from the format forwarded to me from WASO,
Case 3:19-cv-08268-DLR Document 47-2 Filed 10/16/20 Page 16 of 51

Recommend we make as few changes as possible, and ‘pul us on the board’. Then come to the table semi-
annually—using the 6 months to formulate inputs at for the end of each 6 month period.

Thank You.

Sincerely,

Elston
928-255-8727

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i) GRCA SHW-Management Plan - Grand Canyon Draft v2.docx
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Case 3:19-cv-08268-DLR Document 47-2 Filed 10/16/20 Page 17 of 51

Creachbaum, Sarah <sarah_creachbaum@nps.gov>

Re: PSET Material for Consideration 4/2/2019 - Red Cross Training, GRCA Safety
Plan

1 message

Stephenson, Elston <elston_stephenson@nps.gov> Fri, Apr 5, 2079 at 3:16 PM
To: "Drapeaux, Brian" <brian_drapeaux@nps.gov>
Cc: Sarah Creachbaum <sarah_creachbaum@nps.gov>

Brian,

Thank You.

Respectfully, the goal at this stage is simply to buy ourselves the ‘Christmas tree’. That's why no language was changed
from the WASO template.

The process that You recommend seems ideal for ‘hanging the ornaments, the popcorn, the lights'—the language on the
‘Christmas tree’ later as part of the review process—of which there will be several that should, ideally, include the Safety
Health & Wellness Committee.

I'd simply like to get us on the board without delay. Ditto for the remaining 5 outstanding Written Programs.
Most parks that I've polled don't even have this.
Respectfully, we must create momentum.

This creates momentum which will cause other things to flow.

Thank You.

Sincerely,

Elston
928-255-8727

On Fri, Apr 5, 2019 at 3:00 PM Drapeaux, Brian <brian_crapesux@inps.gov> wrote:

Hi Elston,
Looking to formulate specific language for the GRCA Safety Plan at PSET is probably not the correct forum. | would

recommend something to the extent that Robin Martin used in finalizing the Strategic Plan. Announce at PSET, get
concurrence for a date and time and then provide the team with language that you consider to be appropriate and
suggest edits and updates to that language. | find here it is always better to give people something to discuss rather
than an open ended discussion. These are my suggestions and you can take them or leave them, but I have found this

approach to be successful.
Let me know what you think.

thanks,
Brian

Brian Drapeaux
Deputy Superintendent, Business Operations
Grand Canyon National Park
Case 3:19-cv-08268-DLR Document 47-2 Filed 10/16/20 Page 18 of 51

P.O. Box 125
Grand Canyon AZ 86023
: 928-638-7945 Phone
928-638-7815 Fax
; Brian, \. Diapeaux@nps, gov

On Tué, Apr 2, 2019 at 7:02 AM Stephenson, Elston <elsin_stephenson@nps.gov> wrote:
Good Morning PSET,

Please receive these 'pleces' for your review, thoughts and discussion (GRCA Safety Plan draft, Red Cross first
aid/CPR/AED sign up as of April 2, 201 9)

As meftioned in the Friday March 29, 2019 email, we have very few ‘cormmitteds’ for the fraining. And that Red Cross
_ apportions their instructdrs (4: 12) based on the number of’ attendees.

The estimate that we gave Red Cross was for approximately 100 persons.

” As of today there ate 27 people signed up (across all days offered), with another +7 pledged, but needing to secure a
date.

lf approximately 50 persons total is the reality, we must communicate this to Red Cross immediately so that they are
not turning down other training assignments base on overly optimistic astimates on our part.

Please pass alerig updates to the Excel sheet (in red). by Thursday so that | can share with Réd Cross by Friday.
GRCA Safety Plan. Please take a {ook at the draft of the GRGA Safety Plan. We ‘don't have a Plan. As far as | can

felt, we've never had a Plan.

As | shared a couple of weeks ago, this is a standard template that | réceived from 1 WASO. All that was changed was
to irisert GRCA in the appropriate places.

Please formulate your thoughts and inputs for a discussion at next week's inputs so that we can pass it to the
Superintendént for signature.

. Please view this as not an end point, but as a starting point with teview semi-annually,
But we must get ‘ori the board’.

Thank You.

Sincerely,

Elston
928-255-8727

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EXHIBIT X-19

8/9/2920 Case 3:19-cv-08268-DLR DoltalirrRephehsor2 Eistoleddbtvak6/20 Page 20 of 51

ONPS Budget Presentation Request for Strategic Focus

Lewis, Jill K <Jill Lewis@nps.gov>
Wed 2/12/2020 4:28 PM
To: NPS GRCA Executive Team <grca_executive_team@nps.gov>; Ringsven, Sharon K <Sharon_Ringsven@nps.gov>

Hello All,

We wanted to get this out to you sooner than later so you would have a little time to prepare. We are
asking Division Chiefs to do a 30 min. max presentation on your ONPS budget to the group. You may
bring a budget person if you wish. We anticipate covering the budget the first day of the strategic focus
meeting, but I will let the Green Team get back to us on that.

Ground Rules:

* Presenting only for ONPS FY 2020.
¢ Presentations are informational only.
® Provide Power Point presentations to include:
© Division Allocation.
© Budget breakdown by object class. .
© Position Management to include current staffing, planned vacancies to fill this year and

future hopes.
Update on critical information about your budget and staffing that affects other divisions.

© Summary and closing remarks.

~ Thanks!

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Below are Division’s FY20 ONPS allocations, we are expecting a flat budget of $21.6 million. Adjustments
_ may be necessary depending on the final ONPS allocation to the park (Exhibit B).

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GRCAGO | Parkwide Ops $2,343,695 $1,670,000 $1,670,000 $1,670,000
Contingency §270,000
GRCAOO | Reserve 0 $270,000 $270,000
GRCAOO _| Computers $100,000 $190,000 $190,000
Safety, $40,000
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GRCAOO | Perf. Awards $230,000 $200,000 $200,000
Parkwide $100,000
GRCAOO | Training $100,000 $100,000
GRCASO _| Supt $1,868,800 $1,750,000 $1,650,000 $1,650,000
GRCA10__| Admin $1,159,050 $1,595,000 $1,562,115 $1,550,000
GRCA20__| SRM $1,930,320 $2,146,000 $2,501,178 $2,100,000
GRCA30__| Cone. $16,455 $16,500 $16,500 $16,500
GRCASO | PEP $450,600 $450,000 $450,000 $450,000
GRCA6O | VRP $6,061,290 $5,700,000 $7,259,614 $5,646,000
GRCA70 | Aviation $527,260 $580,000 $801,102 $525,000
GRCA80__| Interp $2,572,860 $2,500,000 $3,007,946 92,500,000
GRCA9O_ =| FMD $4,677,170 $5,000,000 $5,648,078 $4,700,000
Total $21,607,500 | $21,607,500 | $25,366,533 $21,607,500
$3,759,033

Additional Guidance:

Divisions need to balance/program 10-575s to match these numbers by February 4, 2020 so the budget
office can run and save a parkwide 10-575. These will also be due to Region at some point. Authorized
amounts in local account should be set to match these numbers by budget staff.

Divisions are allowed to over program based on historic/known attrition, however, you cannot over
spend. Historically the park has had about 15-17% lapse rate.

Divisions will need to update your org charts to reflect this budget. Color coded as follows:

Ce Yellow = Permanent Vacant (Plan to fill in current FY) ermal

The budget office will hold a meeting in January with all budget staff to go over programming and
executing allocated budgets in AFS4 this year so all are on the same page. Programming will be actively
reconciled using CCR and updated throughout the fiscal year.

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EXHIBIT P-1

:19-cv- -DLR Document 47-2 Filed 10/16/20 Page 23 of 51
1/17/2020 Case 3:19-cv SEASS REG THE INTERIOR Mail - Meeting to discuss outcomes of OIG OI-HQ-19-0668-R

Stephenson, Elston <elston_stephenson@nps.gov>

Meeting to discuss outcomes of OIG Ol-HQ-19-0668-R
Stephenson, Elston <elston_stephenson@nps.gov> Tue, Aug 20, 2019 at 7:49 AM
To: "Drapeaux, Brian" <brian_drapeaux@nps.gov>
Cc: Woody Smeck <woody_smeck@nps.gov>
Woody, Brian, Lisa,
Good Morning.
Please let's take a look at this to review, in particular, the ‘jurisdictional issues', and what actually happened,
She still remain open in my SMIS.

| must answer questions to close out the SMIS entry.

Please take another look at what the supervisor sent to me. Clearly this, by his description is/was an entrapment. She
was overrun by the fire in his description. The reason that she drove through the fire is clearly because she felt trapped.

Clearly, in 50B it says that a SAIT can be done. National Fire Director's call.
By the supervisor's description there were many---at least 7 things that went horribly wrong.
| have yet to see an ‘investigation’.

| understand that there were 'Lessons Learned’. | would like to see what happened. We would have to reverse engineer
the Lessons Learned to understand exactly what happened. Seeing the investigation would be more meaningful.

This sounds like it can happen during wildland firefighting on GRCA
Please see that the entire point of the safety investigation is to determine what happened and apply it to Our operations.

Respecttully, We must decide as a matter of policy, of jurisdiction, of Our Identity how much care for Our People we
abdicate to others.

Respectfully, she's Ours.
We put her in that situation.

At the very least we owe her, her Parents, her Family, her Husband, her Wife, her Sister, her Brother, her Friends our best
determination of what happened so we do not put her in that situation again---or other 'hers'/‘hims' in the future.

Thank You.

Elston
928-255-8727

On Thu, Jul 25, 2019 at 11:25 AM Drapeaux, Brian <brian_drapeaux@nps.gov> wrote:
[Quoted text hidden]

2 GRCA Wildland Firefighter Burn Incident June 4, 2019.pdf
694K .

https://mail.google.com/mail/u/07ik=b7d1 a9760e8view=pt&search=all&permmsgid=msg-a%3Ar1901340423135135144 &simpl=msg-a%3Ar19013404... 1/4

Case 3:19-cv-08268-DLR Document 47-2 Filed 10/16/20 Page 24 of 51
1/17/2020 DEPARTMENT OF THE INTERIOR Mail - Meeting to discuss outcomes of OIG OI-HQ-19-0668-R

Meeting to discuss outcomes of OIG Ol-HQ-19-0668-R

Stephenson, Elston <elston_stephenson@nps.gov>

Stephenson, Elston <elston_stephenson@nps.gov> Tue, Jan 7, 2020 at 3:09 PM

To: Mary Risser <Mary_Risser@nps.gov>
Mary,
Good Afternoon,

Here is the ‘package’ regarding the Wildland Firefighter who was separated from her crew on an ATV during a control
burn, cut off and forced to drive through the burn to save her own life.

Reading her supervisor's description; she was in a very desperate and dangerous situation which should never have
happened.

Respectfully, the passage by Mr. Rowe is vacant and seeks to minimize the fact that we literally put her in a situation
where she felt it necessary to drive through fire to save her life.

Smeck said that he would run down the Lessons Learned. He never got back to me.
Kacie is Ours. And she is still 'open' in SMIS,
As we spoke this morning, it would be Horrible and Inexcusable if we ‘repeated! this.

Had this been a fatality, we would be having an entirely different conversation. It appears that it was only Luck which
prevented this from being worse.

Thank You.

Sincerely,

Elston
928-255-8727

some Forwarded message ------—

From: Stephenson, Elston <elston_stephenson@nps.gov>

Date: Tue, Aug 20, 2019 at 7:49 AM

Subject: Re: Meeting to discuss outcomes of OIG O!-HQ-19-0668-R
To: Drapeaux, Brian <brian_drapeaux@nps.gov>

Cc: Woody Smeck <woody_smeck@nps.gov>

[Quoted text hidden]

# GRCA Wildland Firefighter Burn Incident June 4, 2019.pdf
694K

https://mail.google.com/mail/u/0?ik=b7d1a9760e&view=pt&search=all&permmsgid=msg-a%3Ar-7 321 7598736294624 238simpl=msg-a%3Ar-7321 759...

Ww
Case 3:19-cv-08268-DLR Document 47-2 Filed 10/16/20 Page 25 of 51
1/17/2020 DEPARTMENT OF THE INTERIOR Mail - Meeting to discuss outcomes of OIG Ol-HQ-19-0668-R

Stephenson, Elston <elston_stephenson@nps.gov>

Meeting to discuss outcomes of OIG Ol- HQ- 19-0668-R

Smeck, Woody woody: emeckétnpe: gov> Tue, Aug 20, 2019 at 8:59 AM
To: "Stephenson, Elston" <elston_stephenson@nps.gov>
Ce: "Drapeaux, Brian" <brian_drapeaux@nps.gov>

Elston,

i you. Let me obtain a copy of the Final Lessons Learned Report from the Wildland Fire Center and we can go from
there.

Woody Smeck

Acting Superintendent
Grand Canyon National Park
P.O. Box 129

Grand Canyon, AZ 86023
(928) 638-7945 office

(559) 788-9247 mobile

[Quoted text hidden]

https://mail.google.com/mail/u/0?ik=b7d1a9760e&view=pté&search=all&permmsgid=msg-f%3A 1642402 157577052673&simpl=msg-f%3A16424021575... 1/1

Case 3:19-cv-08268-DLR Document 47-2 Filed 10/16/20 Page 26 of 51

From: "Rowe, Louis" <Iguis_rowe@nps.gov>
Date: July 25, 2019 at 8:58:43 AM EDT

To: Woodrow Smack <woedy smeck@nps.gov>

Gc: Aaron Roth <aaron toth@nns.gov>, Michael May

<Michast May@nos.gov>, Palmer Jenkins <chip_jenkins@nps.gov>, Malia Bruynee!
<malia_bruyneel@nps.gov>, William Kaage <willlam keaage@nps.gov>

Subject: O1IG GLHQ-19-0668.R

Woody, Chip:

i received the subject line O1G yesterday. This was filed by GRCA safety Manager
Elston Stephenson and requested that an SAIT should be called out, or that an
immediate Safety Standdown of the GRCA Wildland Eire program should occur as 4
result of an Injured FF on the Coldwater fire on the Coconino National Forest on June 4.
2019.

This was an ember burn on the cheek of a FF while on an ATV checking fire line. First
aid was rendered by an EMT on the engine, Medics looked at it at the Div level, and the
FF was accompanied by the Forest Hospital Liaison to get chacked at Flagstaff rloespital
to ensure FF burn protocals were followed. FF was sent back to the fire on full duty by
the Physician that same day.

A Lessons Learned Report was generated on the Wildfire Lessons Learned Center with
information on what occurred and recornmendations to prevent recurrence. GRCA
AFMO confirms the GRCA south rim FF personnel met and talked about the lessons
leamed.,

Elston states this evoke “Yamell" and that he reviewed DOUNPS Serious Accident
Course material and “can find no SOP, jurisdictional, or investigative

guidance". RM50B provides a definition for serious accidents, and when an SAIT is
called out: Serious accidents: A work refated fatality of an employee (NPS, other
agency under NPS jurisdiction, or contractors and volunteers directly supervised by
NPS), overnight hospitalization of three or more employees from a single occurrence
and/or incidental damage to NPS property of $250,000 or more.

Please refer Elston to the RM508 for guidance so that he can address these incidents
effectively and appropriately in the future. Elston also states that "| don't know a darn
thing about wildland firefighting" so perhaps this can be added to his IDP so he can
learn about this subject next spring when the "3" classes take place there at GRCA

i have clased this O1G, and no response is necessary from IMR, y

Louis Rowe En reas must

Associate Director (A) b of/@M SOB
Visitor and Resource Protection @ / SeelyuS Aa tulend™
National Park Service ALM Tee L eee

Office 202 513-7082 aves gotiv®
Cell 703 994-5816 oe SN

11/13/2019

Wsmis

Case 3:19-cv-08268-DLR

OSHA'S FORM 300 (DOI Facsimile)

Log of Work-Related Injuries and IlInesses

Identify the person

Case no.

2019-1000664

+

2019-1000830

Diplicate

2019-1000149

2019-1001773
(~ 2019-1000147

2019-1000179

Bu li cape.

2019-1000825

2019-1000824

2019-1000823

2019-1000663

2019-1000668

2019-1000660

Employee's Name

DAVID SPENCER

JESSE BAILEY

JESSE BAILEY

PAUL KOENIG

GRACE LILLY

GRACE LILLY

ANDREW PODANY

SHANE BARTON

DANIEL HOVANEC

IVA TORIVIO

VERN GARRISON

CATHERINE MERRITT

Year: 2019

Job Title

FACILITY
MANAGEMENT

ELECTRICAL
WORKER

ELECTRICAL
WORKER

UTILITY SYS

REPAIR-OPER

PARK GUIDE

PARK GUIDE

PARK RANGER
(PROTECTION)

PARK RANGER
(PROTECTION)

PARK RANGER
(PROTECTION)

MISC. CLERK AND

ASSISTANT

UTILITY SYS
REPAIR-OPER

PARK RANGER

(INTERPRETATION)

Document 47-2 Filed 10/16/20 Page 27 of 51
DOI: SMIs

Describe the case

Date of Where Event Occurred Description of

Injury

Feb/12

Feb/15

Feb/i5

Feb/21

Feb/21

Feb/21

Feb/28

Feb/28

Feb/28

Mar/14

Mar/14

Mar/26

JLAKEACOB LAKE
FOREST SERVICE

COMPOU

TRANSFER STATION

IN THE GRAND
CANYON

Transfer Station

CORNER OF
ALBRIGHT AND

COCONINO GRAN

Desert View
Watchtower

DESERT VIEW
WATCHTOWER

INSIDE FRONT

RIVER OPERATIONS
BUILDING GRAND

CANY

GRAND CANYON

RIVER OPERATIONS

GRAND

RIVER SHOP,

SHUTTLE BUS ROAD

GRAND C

SOUTH ENTRANCE

STATION GRAND
CANYON

PARKING LOT
FACILITIES
MAINTENANCE 1

APPROXIMATELY
2..5 MILES DOWN
THE BR

https:/www.smis.doi.gov/index.cim?module=managerReports.runReport

Injury/lilness

Strain, multiple
Single shoulder
Vehicla,
Government-
Owned

Laceration
Sngle ist finger
Hand tools (non-
powered)

Laceration

Sngle 2nd finger
Hand tools (non-
powered)

Strain, multiple
Single shoulder
Machine or Tool

Puncture
Sngle 2nd finger
Windows, Doors

Puncture

Sngle ist finger
Metal Item,
mineral

Laceration

Head Ext, Other
Physical Training
-Tactical,
Exercising, Pack
Test, etc.

Tooth Inj

Teeth

Physical Training
-Tactical,
Exercising, Pack
Test, etc,

Injury - NEG
Head Ext Multip!
Physical Training
-Tactical,
Exercising, Pack
Test, etc.

Laceration

Arm or wrist
Walling/Working
Surface (floor,
street, etc.)

Laceration

Mip Body Sites
Walking/Warking
Surface (floor,
street, etc.)

Fracture

Single Lower _
Leg
Walking/Working

Classify the case

Dwath Baya Job  Gther

Number
of Days
Away On
From = xfer!
Wek Restr
o)6hU6O

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0 860
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o oO

o 60

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3 ?

{J

Establishment Name: Grand Canyon National Park
City: Grand Canyon National Park

State: AZ

Injury or Iliness
Classification

In

80 RE PO HL

IL

1/4
11/43/2019

2019-1000819

2019-1000820

2019-1000616

2019-1000822

2019-1000821

2019=1000659

2019-1001774

Pending Case

2019-1000828

2019-1000829

2019-1000827

2019-1000826

2019-1001108

2019-1001109

Pending Case

Case 3:19-cv-08268-DLR

BRIAN DENSMORE

HANNAH ORFE

TIMOTHY HOPP

NATHAN SILVIS

DANIEL BOUGHTER

MATTHEW KRUPP

NICHOLAS WILLIAMS

ETHAN BERRY

DANA BELCHER

DOLLY SANCHEZ

DAVID GISHIE

ZASHA WELSH

CHARLES PARKER

ROE BAKER

KACIE DODDS

SUPERVISORY
PARK RANGER

PARK RANGER
(PROTECTION)

PARK RANGER
(PROTECTION)

BIOLOGICAL
SCIENCE
TECHNICIAN

BIOLOGIST

PARK RANGER
(PROTECTION)

MOTOR VEHICLE
OPERATOR

MAINTENANCE
WORKER

MISC. CLERK AND

ASSISTANT

MISC. CLERK AND

ASSISTANT

CARPENTER

VOLUNTEER

MISC. CLERK AND

ASSISTANT

PARK RANGER
(GENERAL)

FORESTRY
TECHNICIAN

Document 47-2 Filed 10/16/20

Apr/i0

Apr/10

Apr/i4

Apr/18

Apr/19

Apr/13

Apr/24

Apri26

May/16

May/i6

May/21

May/22

May/29

Jun/4

Jun/4

BOI: SMIS

Grand Canyon Auto
Shop

Grand Canyon Auto
Shop Grand Canyon,

Conducted scenario
training on 4/12/

GRAND CANYON,
SOUTH RIM GRAND
CANYON

ON COLORADO
RIVER AT CAMP
GRAND CANY

STATE ROUTE 67
MM602, N36.4470
Witz.

1577 SHUTTLEBUS
RD AUTO SHOP BAY
GRA

WORK SITE RIGHT
ABOUT SKINNY
HELI-SP

BIKESHARE BIKE
STORAGE BARN
GRAND CA

Grand Canyon Visitor
Center

OUT IN FIELD,
PALACE CALL
SOUTH GATE

EMBANKMENT ON
BRIGHT ANGEL
CREEK ABO

DESERT VIEW
ENTRANCE STATION
GRAND G

DESERT VIEW
CAMPGROUND; SITE
38 GRAN

COLDWATER FIRE
DIVISON ZULU

https://www.smis.doi.gov/index.cfm?madule=managerReports.runReport

Surface (floor,
street, etc.)

Expo
Chem/Toxin
Arm(s), Multiple
Human
(Communicable
Disease)

Expo
Chem/Toxin
Mip Body Sites
Human
(Communicable
Disease)

Insect bite
Single Hip/Thigh
Tick Bite (Single)

Dermatitis

Mip Body Sites
Plant, trees,
vegetation

Obj in eye
Eye Sngle Intern
Insufficient Data

Strain, multiple
Mip Body Sites
Vehicle,
Government-
owned as driver

Puncture
Elbow, Single
Metal item,
mineral

Fracture
Ribs, Multiple
Hoist, Sling
Chain, Jack

Muscuskeletal
NC

Single Wrist
Machine or Tao!

Muscuskeletal
NG

Single knee
inanimate
objects

Strain, multiple
Single shoulder
Inanimate
objects

Tooth Inj
Mouthilips
Walking/Warking
Surface (flocr,
street, etc.)

Strain, multiple
Arm(s), Multiple
Stress (physical)

Superficial Woun
Mip Body Sites
Walking/Werking
Surface (floor,
street, etc.)

Burn, sunburn
Face

Page 28 of 51

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2/4
11/13/2019

2019-1001111

2019-1001517

2019-1001519

2019-1001764

2019-1001765

2019-1001554

2019-1001766

2019-1001767

2019-1001768

2019-1001769

Pending Case

2019-1001770

2019-1001771

2019-1001772

Case 3:19-cv-08268-DLR

PHYLLIS EVANS

JOSEPH DAWSON

KELLY CONFER

KEVIN DILLON

CHARLES PARKER

CHRISTOPHER AHNLUND

JEROME CHAVEZ

AVERY THOMAS

MICHAEL HARRINGTON

ADAM DOCKERY

VERN GARRISON

JOSE MARTINEZ

JANA IRVING

DANTE FOWLER

ADMIN SUPPORT
ASSISTANT

PARK RANGER

(INTERPRETATION)

UTILITY SYS
REPAIR-OPER

PARK RANGER
(PROTECTION)

MISC, CLERK AND

ASSISTANT

FORESTRY TECH

UTILITY SYS
REPAIR-OPTR

FORESTRY
TECHNICIAN

LABORER
(MOTOR VEHICLE
OPERATOR)

MAINTENANCE

WORKER LEADER

UTILITY SYS
REPAIR-OPER

MISC
TRANS/MOBILE
EQUIP MAINT

MISC. CLERK AND

ASSISTANT

LABORER

Document 47-2 Filed 10/16/20 Page 29 of 51

Jun/é

Jun/19

dun/24

Jun/29

dua

Jul/i4

Jul/6

Jul/20

Jul21

Jull24

Jul/26

Jul/30

Jul/34

Aug/9

DOI: SMIS
FOREST R Fire, Flame,
Smoke (not
Tobacco)
2ND FLOOR Strain, multiple

COCONINO BLDG

1824 S THOMP

Grand Canyon South

Rim Village Waldr

ROARING SPRINGS

PUMP HOUSE
GRAND CAN

IN THE STREET IN

FRONT OF MY
RESIDEN

AT WORK. GRAND

CANYON AZ

MURRY WILDLAND

FIRE NORTH RIM

2ND FLOOR.
PRWWTP,PUMP

ROOM GRAND CA

LARGE FIRE

SUPPORT FOR THE

CELLER FI

NORTH KAIBAB
TRAIL GRAND
CANYON, AZ

BRIGHT ANGEL

TRAIL BETWEEN 1.5

AND 3

1622 BARRY HANCE

CIR. GRAND
CANYON

1577 SHUTTLE BUS

RD, AUTO SHOP
GRAND

GRCA, SOUTH

ENTRANCE, LANE 5

GRAND C

NORTH KAIBAB
TRIAL GRAND
CANYON NORT

https.//www.smis.doi.gov/index.cim?module=managerReports.runReport

Single shoulder
Box, barrel,
container, etc.

Paln/Swell Joint
Arm or wrist
Hoist, Sling
Chain, Jack

Back strain
Lower back
Waod

Scratch/Abrasion
Single hand
Walking/Working
Surface (floor,
streat, atc.)

Strain, multiple
Fingers Sngl
Hnd

Stress (physical)

Obj in eye

Eye Sngle Intern
Walking/Working
Surface (floor,
street, etc.)

Strain, multiple
Lower back
Equipment
Layout
(Ergonomic)

Strain, multiple
Single knee
Inanimate
objects

Strain, multiple
Single knee
Walking/Working
Surface (floor,
street, etc.)

Strain, multiple
Single Foot
Walking/Working
Surface (floor,
street, etc.)

Superficial Woun
Mip Body Sites
Walking/Working
Surface (floor,
street, etc.)

Obj in eye

Eye Sngle
Extern

Liquid Chemical,
Toxic

Injury - NEG

Ear Sngle Intern
Vehicle,
Privately-Owned
(Includes Rental)

Strain, multiple
Abdomen
Nonmetallic,
rocks, sand

7

15

3/4
‘Dyplicecte,

11/43/2019

* 2019-1002113 ANDREW SHOUSE

2019-1002114 PATRICK MURPHY

2019-1002115 MICHAEL HARRINGTON

Pending Case BRYAN STRUBLE

Pending Case KAYLEE NEWCOMB

2019-1002188 KAYLEE NEWCOMB

2019-1002187 CHARLES PARKER

Pending Case LEONARD RIOS

Pending Case SHANE BARTON

Pending Case HEATHER HADAWAY

Pending Case KENNETH GAYDUSEK

Pending Case CLAIRE SCHULER

Case 3:19-cv-08268-DLR

FORESTRY
TECHNICIAN

MAINTENANCE
WORKER LEADER

MAINTENANCE
WORKER

UTILITY SYS
REPAIR-OPTR

PARK RANGER

PARK RANGER

MISC, CLERK AND
ASSISTANT

BIOLOGICAL
SCIENCE
TECHNICIAN

PARK RANGER
(PROTECTION)

VISITOR USE
ASSISTANT

Aug/13

Aug/27

Aug/30

Sep/7

Sap/7

Sep/7

Sep/10

Sep/i7

Oct/2

Oct/28

Oct/28

SOUTH RIM

DOI: SMIS
Aug/i0 GRAND CANYON

HELIBASE GRAN

KILAUEA IKI TRAIL
VOLCANO, HAWAII

HIKING ALONG KEN
PATRICK TRAIL ON

NO

Inner Canyon, North
Kaibab Trail, 1.

NORTH KAIBAB
TRAIL GRAND

CANYON

North Kaibab trail
Grand Canyon Nati

TRAFFIC LANE A & B
BOOTHS AT DESERT

NORTH RIM
» EMERGENCY

SERVICES FACILIT

INDIAN GARDEN
DAY USES AREA

GRAND CA

Trail between

Residential Housing

an

back of building of the
auto shop bl

North Rim Entrance

Station

https:/www.smis.doi.gov/index.cfm?modula=managerReports.runReport

Hernia
Pelvis

Physleal Training

-Tactical,

Exercising, Pack

Test, etc.

Inflam Joints
Single knee

Material
Handling

Equipment

Fracture
Rib

Walking/Working
Surface (floor,
street, etc.)

Injured

Obj in eye

Eye Sngle

Extern
Insect

Obj in eye
Eye Sngle Intern

Insect

Obj in eye

Eye Sngle

Extern

Dust (Silica,

Coal, etc,

)

Strain, multiple
Single knee
Physical Training

-Tactical,

Exercising, Pack

Test, etc.

Strain, multiple
Single Lower

Leg

Walking/Working
Surface (floor,
street, atc.)

Injured

Injured

Injured

Totals:

Document 47-2 Filed 10/16/20

0

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229 1m 47 00313

4/4
1/11/2020

Case 3:19-cv-08268-DLR

OSHA'S FORM 300 {O01 Facsimile}
Log of Work-Ralated fnjurias and nesses Year: 2618

Identity the person

Case na

2018-1000664

2018-1900838

2ISAQGI7 73

2019-1000147

20D OUTS

2019-4000825

2078-1000824

2049-1000823

2019-10006G3

2079-1000866

2019-1000660

2018-1000820

Employee's Nama

DAVID SPENCER

JESSE BAILEY

PAUL KOENIG

GRACE LILLY

GRACE LILLY

ANDREW PODANY

SHANE BARTON

DANIEL HOVANEG

IVA TORIVIO

VERN GARRISON

CATHERINE MERRITT

HANNAH ORFE

Job Tite

FACILITY
MANAGEMENT

ELECTRICAL
WORKER

UTILITY SYS
REPAIR-OPER

PARK GUIDE

PARK GUIDE

PARK RANGER
{PROTECTION}

PARK RANGER
(PROTECTION)

PARK RANGER
(PROTECTION)

MISC CLERK ANG

ASSISTANT

UTILITY SYS
REPAIR-OPER

PARK RANGER

(NTERPRETATION)

PARK RANGER
{PROTECTION}

Document 47-2 Filed 10/16/20 Page 31 of 51

DOL SMIS

Oeserlive the cane

Date of Whera Evant Occurred Description of

injury

Fabli2

Fab/i6

Febizt

Feb/2t

Fab/2t

Fabias

Febi28

Feb/2a

Maria

Mar/14

Mari26

Aprit)

JLAKEACOB LAKE
FOREST SERVICE
COMPOU

Transfer Station

CORNER OF
ALBRIGHT ANB
COCONINO GRAN

Desert View
Waichtower

DESERT VIEW
WATCHTOWER
INSIDE FRONT

RIVER OPERATIONS

BUILDING GRAND
CANY

GRAND CANYON

RIVER OPERATIONS

GRAND

RIVER SHOF,

SHUTTLE BUS ROAD

GRAND C

SOUTH ENTRANCE

STATION GRAND
CANYON

PARKING LOT
FACILITIES
MAINTENANCE 1

APPROXIMATELY
2.5 MILES DOWN

THE BR

Grand Canyon Auta

Shop Grand Canyon,

hitpsvAwww.smnis.dol. gov/index.cim ?madule=managerReporls runReport

Injuryiliness

Siala, muttiole
Single shoulder
Vehiclo,
Govarnnient-
Owned

Laceration

Hand fools (nan-
powered)

Strain, mulipls
Single shoulder
Machine or Tool

Punctura
Sngle 2nd finger
Windows, Doors

Puncture

Sngle tst finger
Matal iter,
mineral

Laceration

Haad Ext, Othar
Physical Training
-Tactical,
Rxercising, Pack
Tast, ate.

Foath taj

Teath

Physical Training
Tactical,
Exercising, Pack
Tast, ate,

fnury - NEC
Head Ext Mutipl
Physical Training
-Tactical,
Exercising, Pack
Test, tc.

Lacaration

Arm or wrist
Waiking/ Working
Surface (floor,
atreat, ete.)

Laceraiton

Min Bady Sites
Walking Warking
Surace {foar,
street, atc.)

Fracture

Single Lower
Leg
WathlngWorking
Sudace (flacr,
street, els,)

Expo
Chem/Toxin
Mip Sady Sites

prermenncenny

|

Reems

Establlahmant Name: Grand Canyon National Park

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Panding Case

Case 3:19-cv-08268-DLR

BRIAN DENSMORE

TIMOTHY HOPP

NATHAN SILVIS

DANIEL BOUGHTER

MATTHEW KRUPP

NICHOLAS WILLIAMS

ETHAN BERRY

BANA BELCHER

DOLLY SANCHEZ

DAVID GISHIE

ZASHA WELSH

CHARLES PARKER

ROE BAKER

PHYLLIS EVANS

BRIAN ROBERTS

SUPERVISORY
PARK RANGER

PARK RANGER
(PROTECTION)

BIOLOGICAL
SCIENCE
TECHNICIAN

BIOLOGIST

PARK RANGER
(PROTECTION)

MOTOR VEHICLE
OPERATOR

MAINTENANCE
WORKER

MISC. CLERK AND
ASSISTANT

MISC. CLERK AND
ASSISTANT

CARPENTER

VOLUNTEER

MISC. CLERK AND
ASSISTANT

PARK RANGER
(GENERAL)

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ADMIN SUPPORT
ASSISTANT

PARK
MANAGEMENT

Document 47-2 Filed 10/16/20 Page 32 of 51

DOL SMIS
Human
(Communicable
Disease)
Apri Grand Canyon Auto Expo
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Human
(Communicable
Disanse)
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mineral
Aprv26 WORK SITE RIGHT Fracture
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Chain, Jack
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2048-10017 70

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JOSEPH DAWSON

KELLY CONFER

KEVIN DILLON

CHARLES PARKER

CHRISTOPHER AHNNLUND

JEROME CHAVEZ

AVERY THOMAS

MICHAEL HARRINGTON

ADAM DOCKERY

JOSE MARTINEZ

JANA IRVING

DANTE FOWLER

ANOREW SHOUSE

PATRICK MURPHY

PARK RANGER

(INTERPRETATION)

TILEY SYS
REPAIR-OPER

PARK RANGER
(PROTECTION)

MISC. CLERK AND
ASSISTANT

FORESTRY TEGH

UTILITY SYS
REPAIR-OPTR

FORESTRY
TECHNICIAN

LABORER
(MOTOR VEHICLE
OPERATOR)

MAINTENANCE
WORKER LEADER

MISC
TRANS/MOBILE
EQUIP MAINT

MISC. CLERK AND

ASSISTANT

LABORER

FORESTRY
TECHNICIAN

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WORKER LEADER

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Grand Canyon South
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GRAND CAN

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AT WORK, GRAND
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MURRY WILDLAND
FIRE NORTH RIM

2ND FLOOR.
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LARGE FIRE
SUPPORT FOR THE
CELLER 1

NORTH KAIBAB
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CANYON, AZ

BRIGHT ANGEL
TRAIL BETWEEN 1.5
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1977 SHUTTLE BUS
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Case 3:19-cv-08268-DLR Document 47-2. Filed 10/16/20 Page 34 of 51

qf14/2020 Dc: SMIS
Handling
Equipment
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OPERATOR) Hard tects {ran-
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WORKER LEADER switchbacks ba Snote 4th finger
Hand tons (non-
powared)

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Case 3:19-cv-08268-DLR Document 47-2 Filed 10/16/20

1/11/2020

2019-1002908 MATTHEW KRUPP PARK RANGER Decl

(PROTECTION)

W-1 Road near the
intersection of W-

2019-1002877 HANNAH ORFE PARK RANGER

(PROTECTION)

Deci24 Station One Women

MISC CLERK AND Ogc/26
ASSISTANT

Desert View Office
Parking Lot

2019-1002076 GHARLES PARKER

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Totals: 0

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Case 3:19-cv-08268-DLR Document 47-2 Filed 10/16/20 Page 36 of 51

EXHIBIT D
Case 3:19-cv-08268-DLR Document 47-2 Filed 10/16/20 Page 37 of 51
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DEPARTMENT OF THE INTERIOR Mall - URGENT HELP: Uranium Exposure al Grand Canyon National Park

Stephenson, Elston <elston_stephenson@nps.gov>

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URGENT HELP: Uranium Exposure at Grand Canyon National Park

Stephenson, Elston <elston_stephenson@nps.gov> Thu, Dac 20, 2078 at 5:07 AM
To: Secretary Zinke <secretary_zinke@los.doi.gav>
Ce: David Bemhardt <dwbermhardt@los,dol.gav>, Mary Kendall <mary_kendall@doloig.gov>

, employee working In the vicinity of the material contracted een and died.

The three 5 gallons buckets of uranium were stashed away In the GRCA Museum Collections building back in 2000. |

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Secretary Zinke,
Sir Good Moming.

| was sorry to hear of your imminent departure. But, Sir, I'm respectfully asking you, as an Operator, to ‘service’ one more
targel before you go.

Please consider this a continuation of my Formal Complaint.

Sir, 1000s of Grand Canyon National Park (GRCA) workers and visitors—particularly young children appear to have been
exposed to uranium levels that appear to be 100s of times the NRC limits for the general public as they attended tours
and shows here. The same Is likely true for our workers,

Sir, In pictures (attached) you will see a large case with laxidermied animals, Just to the left (facing) of the case Is where
three 5 gallon buckets of uranium were stashed. One bucket was piled so high with uranium that it could not be
completely closed. On the floor Just In front of the case Is where tours of children would sit to take In animal shows—just a
faw Inches to a few feet (at most) from the buckets of emitting uranium.

Al least one NPS employee working In the vicinity of the material contracted cancer and survived. At least one NPS

slarted working here June 26, 2017, lt was reported to me on June 17, 2078, | instantly contacted the InterMountain
Regional Headquarters (IMR) for help. They sent out an NPS IMR uranium ‘expert’. Immediately upon his arrival, the
GRCA Superintendent, the IMR Safely Manager, and the responding IMR uranium expert made a pact to explicitly secret |
and hide any of their findings, measurements, elc from me—-and from the employees working in the building—in violation
of the OSHA ‘Right-to-Know Law’. |

Please recelve this report that | just received last night (pdf), It was hidden from me until now. |

Sir, when you compare the numbers on page 1 to the Nuclear Regulatory Commission's (NRC) limits on their webpage
10CFR §20.1302 Compliance With Dose Limits For Individual Members of the General Public; You will see that the 0.02
mSv/hr hourly limit fisted in 10CFR §20.1302(b)(2)(ii) is exceeded several thousand times over—especially as you
consider the kids sitting there on the floor for the show.

But, Sir, it gets worse when you consider that NRC's cise 10CFR §20.1207 Occupational Dose Limits for Minors
slates that minor-aged children are limited to just 1/10th the exposure of adults. |

Sir, between 2000 and June 18, 2018 we have likely exposed 1000s of Americans to excessive levels of urantum at
Grand Canyon National Park.

Beyond the retaliation and hostility that | have faced as a result of trying to bring this forward and protect my workers—in
violation of the Whistleblower Law; the attempts to cover this up, and the amateurish IMR response may be criminal.

| have already described the secret pact made between the GRCA Superintendent and IMR personnel—there may be
others In IMR beyond Just these three that | know of. Please receive this other ‘report’ (MSWord) that the IMR responding
‘expert’ forwarded 2 weeks ago when pressed. Clearly, yoy can see that he deliberately deleted items 4 thru 7 in an
attempt to hide those potentially deadly exposure readings.

_ Respectfully Sir, what may be also criminal is that the GRCA Superintendent and the IMR personnel knew of these

exposures to our workers for thes past 6 months and did nothing to inform, advise, or care for ther. In fact, the departing
IMR uranium expert told them that they had nothing to worry about—they were “good”.

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1/30/2019 DEPARTMENT OF THE INTERIOR Mail - URGENT HELP: Uranium Exposure at Grand Ganyon National Park

The workers were also told that they had nathing to worry about when the uranium was first dumped on them back in
2000,

My concems were ralsed when not only did it take the IMR uranium expert 4 days to get here (June 14, 2018), but he had
to divert to another park (o borrow a radiation measuring device (Ludlum). As you may know, Sir, uranium ‘off-gasses'
radon. Yet he brought no radon measuring equipment. He brought his wife who Is also a non-NPS uranium expert.
Although she assisted him, she does nol appear anywhere in the ‘report’. Neither of tham had what would be expected
personal protective equipment (PPE). It was such an amateurish response that they had to go to the tourist General Store
here at the Park and purchase several pairs of common dishwasher gloves as thelr PPE. They resorted to tearing off the
head of a mop and using the mop handle to move the buckets of uranium (pic).

Between the June incident and August, | kept pestering for information In order to inform my workers, but recelved none. |
was told to await the report.

In an August EEO federal mediation session, the GRCA Superintendent slipped and revealed the secretive pact that she
made with the IMR Safety Manager and IMR responding uranium expert.

When | found this out, | decided to call OSHA, the NRC, and notified Congress with a formal complaint in order to get the
help and information | needed to help my workers. OSHA responded like pros, Thay even came with a detachment of
active duty USAF uranium experts fully equipped and clad to measure and ensure our safety (November 29, 2018),
However this was 6 months after the fact. The uranium had already been removed and dumped at a local mine. There
was little for them to measure---except for the fact that the amateurish IMR crew brought the buckets back to the office
space where they continued emitting.

Sir, respectfully, | know and understand that you are busy. | know your're leaving.
Respectfully, your country needs you to do ona more thing before you go; take care of this.

Sir, | need your help, Please. My workers need your help, The 1000s of Americans who were exposed for over 18 years
to uranium—particularly the childran need your help,

Thank You.
And, Sir, Thank You for Your Service,

Very Sincerely & Respectfully,

CW4(ret) Elston "Swede" Stephenson, OHST
Safety Health & Wellness Manager

Grand Canyon National Park

928-255-8727 |

References

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https:/www.nre,gov/reading-rm/doc-collections/cfr/part020/

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Case 3:19-cv-08268-DLR Document 47-2 Filed 10/16/20 Page 40 of 51

1/30/2019 DEPARTMENT OF THE INTERIOR Mall - URGENT HELP: Uranium Exposure at Grand Canyon National Park

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17 attachments

Stephenson GRCA Uranium 1.Jpg
703K

Stephenson GRCA Uranium 2.Jpg
§25K

Stephenson GRCA Uranium 3.Jpg
1010K

Stephenson GRCA Uranium 4Jpg
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Stephenson GRCA Uranium 6.jpg
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4730/2019 DEPARTMENT OF THE INTERIOR Mall - URGENT HELP. Uranium Exposure al Grand Canyon National Park

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1/30/2018 DEPARTMENT OF THE INTERIOR Mall - URGENT HELP: Uranium Exposure at Grand Canyon National Park

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Stephenson GRCA Uranium 16.)pg
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DEPARTMENT OF THE INTERIOR Mall - URGENT HELP, Uranium Exposure at Grand Canyon National Park

Stephenson GRCA - Trip Report - GRCA Radiation Concams - June 2018,pdf
@ 71K

a) Stephenson Grand Canyon - Rad Resp- Uranium repost (1).docx
183K

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EXHIBIT D-1
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14/23/2019 DEPARTMENT OF THE INTERIOR Mall - Update (12/28/2018): URGENT HELP: Uranium Exposure at Grand Canyon National Park

Stephenson, Elston <elston_stephenson@nps.gov>

Update (12/28/2018): URGENT HELP: Uranium Exposure at Grand Canyon National
Park

Stephenson, Elston <elston_stephenson@nps.gov> Mon, Dec 31, 2018 at 11:38 AM
To: Secretary Zinke <secretary_zinke@ios.doi.gov>
Cc: David Bernhardt <dwbernhardt@ios.doi.gov>, Mary Kendall <mary_kendall@doioig.gov>

Mr. Secretary,
Good Morning, Sir.

Please receive this update to the uranium exposure at Grand Canyon National Park as of December 28,
2018.

Conferring with the NRC, and the state of Arizona's equivalent nuclear regulatory body, Arizona Department
of Health Services - Bureau of Radiation Control (ADHS) has determined that dangerous levels of uranium
radiation were emitted onto an unknowing public--particularly children, NPS minor-aged workers, and NPS
adult workers as they toured, conducted research, and worked at the Museum Collections Building, Grand
Canyon National Park between the year 2000 and June 18, 2018.

Please recall that | am also working with Fed OSHA. Their report is still due.

However, Sir, | have not conferred with any professional or expert who does not concur, or who is not
alarmed,

Sir the numbers (facts) are not going to change. According to IMR's ‘expert’ the uranium in the three 5
gallon buckets (one bucket so full that the lid could not be closed) were emitting between 1,400 and 4,000
times the NRC safe rate limit per hour for general public children ([800 mR/hr + 0.02 mSv/hr] x 10,
[230mR/hr + 0,02 mSv/hr] x 10) and between 140 and 400 times the NRC safe rate limit per hour for adults
(800 mR/hr + 0.02 mSv/hr, 230mR/hr + 0.02 mSv/hr) . The animal shows that they were attending lasted
between 30 minutes to 1 hour. The shows were a routine feature of the tours to the general public. There
were between 800 to 1000 persons attending tours every year. While children and show attendees are
relatively easy to assess because they were captivated in the confined area just inches away from uranium
(at the taxidermied animal case), the workers are more difficult to determine because of their changing
proximity and time duration to the uranium in the course of their work-—-some for the entire 18+ years that
the uranium was stashed in their office space. NRC and ADHS confirm those numbers (stated in the report)

and that interpretation.
One expert said "I've never seen exposure readings that high."
Please find the report and applicable links to NRC (along with conversion app) attached and below.

Sir, regrettably, it is not hyperbole to say that based on exposure rates and number of victims; Grand
Canyon National Park may have suffered one of worst nuclear incidents in the Nation's history.

To date; No workers have been informed of the rates or the potential impacts to their health in accordance
with the Right-to-Know law. No public notification has been made.

As such, and given what | have discovered and sought to solve and bring forward as serious safety issues
in the course of my job; the uranium, attempts to hide/cover up the this uranium incident by GRCA and IMR

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41/23/2019 DEPARTMENT OF THE INTERIOR Mail - Update (12/28/2018): URGENT HELP: Uranium Exposure at Grand Canyon National Park
Regional Headquarters, the death of a visitor in the botched AED incident at DesertView, the expired,
obsolete, and discontinued AEDs across the Park and NPS-wide, the near fatality with the saw to the face
of a worker because of a GRCA history of ignoring OSHA JHA requirements---just to name a few, years of
having no safety program (audit attached), the fact that | had to resort to an EEO settlement to force the
leadership to comply with the most fundamental safety requirements as a result of the audit (attached),
because of the enormous litigation issues that may lay ahead---and because of what Grand Canyon
National Park means to the Nation and to the World; perhaps it is time for a more intensified Congressional
involvement and Congressional oversight.

Otherwise, my fear is that rather than owning up and addressing this tragedy, efforts will be made to
discredit or re-write the report, discredit me, or minimize the incident by ‘switcheroo'---"see, we check last
week and there's no uranium, so we're good", ignoring/denying it and moving on.

Sir, because of this, | respectfully insist that all Whistleblower provisions (by all respective Agencies and
Congress) remain in full effect.

Finally Sir, | made a mistake in the earlier email as | stated ".,.1000s of Americans who were exposed...". As
You know, Sir, it was not just Americans who were exposed, but people--particularly little kids visiting
Grand Canyon National Park from all over the world who were exposed to uranium by us.

Sir, Thank You.
Congratulations on your tenure.
Happy New Year.

And, especially, Thank You for Your Service.

Very Sincerely,

CW4 (ret) Elston "Swede" Stephenson, OHST
Safety Health & Wellness Manager

Grand Canyon National Park

928-255-8727

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* Stephenson Settlement Agreement_NPS-18-0460_GRCA FINAL (signed).pdf
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* Stephenson - GRCA 2018 Safety Audit Findings and Final Report.pdf
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